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MICHAEL LEHNERS, ESQ.                          / I 3I

429 Marsh Ave.
Reno, Nevada 89509
Nevada Bar Number 003331
(775) 786-1695
email michaellehners@yahoo.com
Attorney for Chapter Seven Trustee
Donald Gieseke


                    UNITED STATES BANKRUPTCY COURT

                             DISTRICT OF NEVADA

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                                          BK-N- 12-52799-btb
                                          CHAPTER 7
IN RE                                     Hearing Date:
                                          and Time:
PATMONT MOTOR WERKS, INC.,                Mtn No.
                                          Est Time: 5 Minutes
             Debtor(s).               MOTION TO APPROVE COMPROMISE
                                                  OF CLAIM


        COMES NOW Chapter Seven Trustee above named by and through
undersigned counsel and files the following Motion to Approve the

Compromise of the Estate's claim against Steven Patmont, Hannalore

Patmont aka Hannelore Patmont.
1.      Background
        The Debtor filed bankruptcy under Chapter Eleven of Title Eleven,
United States Code on December 14, 2012. On November 12, 2014 this
Court entered an Order converting the case to one under Chapter Seven.

Donald Gieseke was appointed as the Chapter Seven Trustee.
        Steven Patmont is the president of Patmont Motor Werks, Inc., and
he owns 50% of the capital stock. Hannalore Patmont is the treasurer of
Patmont Motor Werks, Inc., and she owns 50% of the capital stock. The


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Patmonts made significant capital investments to Patmont Motor Werks.
As of January 1, 2012 the Debtor owed the Patmonts in excess of

$1,500,000.00.
        Sometime after January 1, 2012 but before December 14, 2012

Steven and Hannalore Patmont received payment of approximately

$89,000.00 from Patmont Motor Werks. Steven and Hannalore Patmont
continued to make capital contributions to the Debtor during the 2012

year.
        On June 23, 2015 the Trustee filed an adversary proceeding
against Steven and Hannalore Patmont for recovery of alleged

preferential transfers. The parties have exchanged documents,
conducted a Rule 26(f) meeting and attended the adversary scheduling

conference. The Defendant had scheduled a deposition of the Trustee on

December 14, 2015, but the parties reached a settlement prior to the

deposition.
        The parties have agreed that the Defendants shall pay the Trustee

the sum of $10,000.00 to settle the alleged preferential transfers in full.

2.      Authority

        Federal Rule of Bankruptcy Procedure 9019 governs compromises
of settlement in bankruptcy. It provides, in pertinent part:

        (a)    Compromise. On motion by the trustee and after a
        hearing on notice to creditors, the debtor and indentured
        trustee as provided in Rule 2002(a) and to such other
        entities as the court may designate, the court may approve a
        compromise or settlement.

        Fed.R.Bankr.P. 9019(a).
        Generally, compromises are favored in bankruptcy. See, 9 Collier
on      Bankruptcy,       90 l 9.03 [1] (15th ed. 1990). The law favors

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compromise and not litigation for its own sake, In re Blair, 538 F.2d 849,
851 (9th Cir. 1976), and as long as the bankruptcy court amply considers

the various factors that determined the reasonableness of the

compromise, the court's decision must be affirmed. Matter of Walsh

Constr., Inc., 669 F.2d 1325, 1328 (9th Cir.1982).
      Thus, the court must consider whether the settlement is

reasonable given the particular circumstances of the case. In re A & C

Properties, 784 F.2d 1377, 1380-81 (9th Cir. 1986). In the Ninth Circuit,
the fair and equitable settlement standard requires consideration of:

      1.   The probability of success in the litigation;

      2.   The difficulties, if any, to be encountered in the matter
           of collection;

      3.   The complexity of the litigation involved and the
           expense, inconvenience and delay necessarily attending
           it;

      4.   The interest of the creditors and a proper deference to
           their reasonable views in the premises, which is
           considered paramount.
      Id., quoted with approval in In re Woodson. 839 F.2d 610, 620
(9th Cir.1988). The Court need not conduct a mini trial, but should
canvass the issues in order to determine that the settlement meets the

standards set forth in A & C Properties. In re Schmitt, 215 B.R. 417, 423
(9th Cir BAP 1997). When assessing a compromise. courts need not rule

upon disputed facts and questions of law, but rather only canvass the
issues. Otherwise, there would be no point in reaching a settlement, and
the parties may as well try the case. In re HyLoft. 451 B.R. 104, 109
(Bkrtcy. D. Nev. 2011).
      A.    Probability of     Success

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      The issue that would have to be litigated is whether the

distributions to the Patmonts was on account of a debt or equity. In re

Pacific Express, Inc., held that the Code did not authorize courts to
characterize claims as equity or debt, but limited courts to the statutory

remedy of equitable subordination under 11 U.S.C. § 510. In re Fitness

Holdings Int'', Inc., 714 F.3d 1141, 1147-48 (9th Cir. 2013) overruled

Pacific Express, holding that the Bankruptcy Code gives courts the
authority to recharacterize claims in bankruptcy proceedings.
      The Trustee would point out that the Debtor's Amended Statement

of Financial Affairs indicates that $113,000.00 was paid out as capital

contributions during the 2012 year. See (DE35).
      This is not the end of the analysis. As noted by Fitness Holdings,
the circuits have taken different approaches in identifying the legal

framework for this recharacterization. Compare Lothian Oil, 650 F.3d at

543 holding that, under the Butner         principle, courts are required to

define claims by reference to state law, and are thus required to

recharacterize purported debt as equity where state law would treat the

asserted interest as an equity interest with SubMicron, 432 F.3d at 454-
56 holding that a court has the equitable authority to recharacterize a
transaction and determine if it is more like debt" or "equity. See also

AutoStyle Plastics, 269 F.3d at 749-50 (announcing an eleven-factor test,
derived from federal tax law, for determining whether a purported debt

is in fact equity.
      This factor greatly affects the probability of success on the merits.
      B. Difficulties of Collection




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      The Trustee does not know the financial condition of the Patmonts.

Since they are individuals, they would have the option of filing their

own bankruptcy if a judgment were obtained.

      C.    Complexity of Litigation
      The question of how to classify debt as equity and vice versa is

very complicated as illustrated by Fitness Holdings' comments.

      D.    Interest of Creditors

      The settlement is in the best interest of the creditors because it

will save administrative expenses. Counsel's fees in litigating this

adversary to settlement are under five thousand dollars. If the matter

were litigated to conclusion, then the expenses would be more, and there

is no guarantee of success or collection.
      In light of the foregoing, the Trustee respectfully requests that this

Court approve the settlement.


            Dated: This         day of            —        , 2015




                                    By: Mic h ag4,e6ners, Esq.
                                        429 Marsh Ave.
                                        Reno, Nevada 89509
                                         Nevada Bar Number 003331




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